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                        UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF LOUISIANA

LACI BLANCHARD                                         CA:

vs.                                                    JUDGE:

SBS ENERGY SERVICES, LLC, et al                        MAG. JUDGE:


                              CONSENT TO REMOVAL

       Now into court, through undersigned counsel, appears Kinsale Insurance

Company, named a defendant in that action entitled Laci Blanchard vs. SBS Energy

Services, LLC, et al., filed in the 19th Judicial District Court, East Baton Rouge Parish,

docket number C43798. Kinsale has not yet been served but nevertheless consents to

removal of the action from state to federal court.



                                          Respectfully submitted,



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